




Criminal Case Template




COURT OF APPEALS

EIGHTH DISTRICT OF TEXAS

EL PASO, TEXAS



ROBERT FLINT GOURLEY,


                            Appellant,


v.


THE STATE OF TEXAS,


                            Appellee.

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No. 08-02-00293-CR


Appeal from the


Criminal District Court No. 4


of Dallas County, Texas


(TC# F-0072998-QK)

MEMORANDUM OPINION


	

	Robert Flint Gourley waived trial by jury and entered a plea of guilty before the
court to the offense of unlawfully possessing a controlled substance.  See Tex. Health &amp;
Safety Code Ann. § 481.129(a)(5) (Vernon Supp. 2003).  He was convicted, and the
court assessed punishment at confinement for ten years and a fine of $500.  The court
suspended the sentence of confinement and placed Gourley on probation for five years.  
The State later filed a motion to revoke Gourley's probation.  Gourley pleaded true to
some of the allegations in the motion to revoke.  The trial court revoked his probation and
sentenced him to confinement for ten years.  We affirm.

	Gourley's court-appointed counsel has filed a brief in which he has concluded that
the appeal is wholly frivolous and without merit.  The brief meets the requirements of
Anders v. California, 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed.2d 493, reh. denied, 388 U.S.
924, 87 S.Ct. 2094, 18 L.Ed.2d 1377 (1967), by presenting a professional evaluation of
the record demonstrating why, in effect, there are no arguable grounds to be advanced. 
See High v. State, 573 S.W.2d 807 (Tex. Crim. App. 1978); Currie v. State, 516 S.W.2d
684 (Tex. Crim. App. 1974); Jackson v. State, 485 S.W.2d 553 (Tex. Crim. App. 1972);
Gainous v. State, 436 S.W.2d 137 (Tex. Crim. App. 1969).  A copy of counsel's brief and
the appellate record have been delivered to Gourley, and Gourley has been advised of his
right to file a pro se brief.  No pro se brief has been filed.

	The record reflects that Gourley was admonished of the consequences of his plea
pursuant to Tex. Code  Crim. Proc. Ann. art.&nbsp;26.13 (Vernon Supp. 2003), and he made a
judicial confession admitting his guilt.

	We have carefully reviewed the record and counsel's brief and agree that the
appeal is wholly frivolous and without merit.  Further, we find nothing in the record that
might arguably support the appeal.

	The judgment is affirmed.


						

						SUSAN LARSEN, Justice

February 6, 2003


Before Panel No. 3

Barajas, C.J., Larsen, and Chew, JJ.


(Do Not Publish)


